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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 S.M., J.M., P.B., A.L., and S.L., on behalf         Case No. 1:25-cv-11856
 of themselves and all others similarly
 situated,
                                                     JURY TRIAL DEMANDED
                              Plaintiffs,

 v.

 SELECT MEDIA LLC D/B/A FANSLY,

                               Defendant.


                               CLASS ACTION COMPLAINT

       Plaintiffs S.M., J.M., P.B., A.L., and S.L (collectively, “Plaintiffs”), individually and on

behalf of all similarly situated persons, allege the following against Defendant Select Media LLC

d/b/a Fansly (“Defendant” or “Fansly”) based upon personal knowledge with respect to themselves

and on information and belief derived from, among other things, investigation by Plaintiffs’

counsel and review of public documents as to all other matters:

                                     I.        INTRODUCTION
       1.     A person’s sexual desires are some of the most sensitive, personal things in life. As

the Supreme Court has stated, an individual’s sexual behavior within their own home represents

the “most private human conduct…in the most private of places.” Lawrence v. Texas, 539 U.S.

558, 567 (2003).

       2.     For many Americans, their sexual lives in some way involve viewing pornography.

Even though the statistics vary, a 2020 academic study reported that “[u]sing all modalities of

pornography, 91.5% of men and 60.2% of women herein reported having consumed pornography



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in the past month.” 1 Likewise, according to a 2023 research article reported on in Psychology

Today:

                Using a set of metrics that includes indicators of monthly unique
                visitors as well as monthly pageviews, the authors [of the article in
                the Journal Of Sex Research] found that the top three pornography
                sites are more highly ranked than the most well-known household
                name sites (Amazon, Netflix, Yahoo) as well as those that are the
                most up and coming (TikTok, OpenAI/ChatGPT, Zoom). 2

That result is consistent with a similar study performed a decade earlier, which found that

pornography sites were unquestionably the most popular on the internet.

         3.     Yet despite its prevalence, pornography usage is still a topic that most individuals

prefer not to discuss. For example, a large percentage of couples in a 2021 study reported that their

significant other does not know the frequency of pornography that they watch.                This is not

surprising, as many within society still disapprove of its use and the negative effects it can have

on participants and their relationships. Thus, it is clear that pornography usage is an extremely

private matter—and that many of its users prefer to keep that way.

         4.     Fansly is an online service which allows users of its website—www.fansly.com (the

“Website”)—to upload and view pornographic videos, as well as subscribe to independent

pornographic producers directly through its platform. While some of the content hosted on Fansly

can be viewed without paying for a subscription, any person who wishes to browse even its free

content must register for an account on the Website to gain access.




1
 Solano, Eaton & O’Leary, Pornography Consumption, Modality and Function in a Large Internet Sample (J.
Sex Res. Jan. 2020) available at https://pubmed.ncbi.nlm.nih.gov/30358432/
2
  McNichols, Nicole K. Ph.D., How Many People Actually Watch Porn? (Psychology Today Sept. 25, 2023)
available     at     https://www.psychologytoday.com/us/blog/everyone-on-top/202309/how-much-porn-do-
americans-really-watch (reporting on Wright, Tokunaga & Herbenick, But Do Porn Sites Get More Traffic than
TikTok, OpenAI, and Zoom?, 763-767 (J. Sex Res. June 5, 2023) available at
https://www.tandfonline.com/doi/full/10.1080/00224499.2023.2220690)

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       5.       Plaintiffs used Defendant’s Website to privately view pornographic media from the

comfort of their own homes. Given the confidential nature of pornography usage, when Plaintiffs

used the Website, they assumed that Fansly would do its utmost to keep their use of its service

private.

       6.       Unfortunately, unbeknownst to Plaintiffs and other visitors to the Website, Fansly

does not keep sensitive information about their Website visitors private. Instead, Defendant

collects and transmits information related to individuals’ use of the Website, including the specific

pornographic videos that they watch (the “Sensitive Information”), to third party advertisers,

including Alphabet Inc. (“Google”), through the use of surreptitious online tracking tools.

       7.       Online advertising giants, like Google, try to compile as much information as

possible about American consumers, including the most private aspects of their lives, as fuel for a

massive, targeted advertising enterprise. Any information about a person captured by those online

behemoths can be used to stream ads to that person. If Google receives information that a person

views pornography, it will use that information, and allow its clients to use that information, to

stream ads to that person’s computers and smartphones relating to the specific types of

pornography that the person consumes.

       8.       Google offers website operators access to its proprietary suites of marketing,

advertising, and customer analytics software, including Google Analytics, Google AdSense, and

Google Tag Manager (collectively, the “Business Tools”). Armed with these Business Tools,

website operators can leverage Google’s enormous database of consumer information for the

purposes of deploying targeted advertisements, performing minute analyses of their customer

bases, and identifying new market segments that may be exploited.




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       9.      But, in exchange for access to these Business Tools, website operators install

Google’s surveillance software on their website (the “Tracking Tools”), including ‘tracking pixels’

(“Pixels”) and third-party ‘cookies’ that capture sensitive, personally identifiable information

provided to the website operator by its website users. This sensitive information can include a

unique identifier that Google uses to identify that user, regardless of what computer or phone is

used to access the website. The Tracking Tools can also capture and share other information like

the specific webpages visited by a website user, items added to an online shopping cart by a website

user, information entered into an online form by a website user, and the device characteristics of a

website user’s phone or computer.

       10.     In essence, when website operators use Google’s Business Tools, they choose to

participate in Google’s mass surveillance network and, in turn, benefit from Google’s collection

of user data at the expense of their customers’ privacy.

       11.     Fansly chose to accept the devil’s bargain offered by Google by installing Google’s

Tracking Tools on the Website. In doing so, it has chosen to prioritize marketing over customer

privacy.

       12.     Each of the Plaintiffs and Class Members visited the Website and had their personal

Sensitive Information tracked by Defendant using the Tracking Tools. However, Defendant never

obtained informed consent from Plaintiffs or Class Members to share the Sensitive Information it

collects with third parties, let alone with Google, the largest advertiser and compiler of user

information in the world.

       13.     Moreover, Defendant’s tracking of Website users violated numerous state and

federal laws, including the Video Privacy Protection Act (“VPPA”), passed specifically to prevent

the disclosure and aggregation of data relating to an individual’s video consumption.



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        14.      As a result of Defendant’s conduct, Plaintiffs and Class Members have suffered

numerous injuries, including: (i) invasion of privacy; (ii) lack of trust in communicating with

online service providers; (iii) emotional distress and heightened concerns related to the release of

Sensitive Information to third parties, (iv) loss of benefit of the bargain; (v) diminution of value of

the Sensitive Information; (vi) statutory damages and (viii) continued and ongoing risk to their

Sensitive Information.

        15.      Therefore, Plaintiffs seek, on behalf of themselves and a class of similarly situated

persons, to remedy these harms and assert the following statutory and common law claims against

Defendant: Invasion of Privacy; Breach of Confidence; Negligence; Breach of Implied Contract;

violations of the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710, et seq.; violations of

the Electronic Communications Privacy Act (“ECPA”); violations of N.Y. Gen. Bus. Law § 349;

violations of the Massachusetts Right to Privacy Law, Mass. Ann. Laws Ch. 214, § 1b; violations

of the California Invasion of Privacy Act (“CIPA”); Cal. Pen. Code § 360, et seq.; and violations

of the California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code, § 17200, et seq.

                                            II.     PARTIES

Plaintiff S.M.

        16.      Plaintiff S.M. is a citizen of the state of Massachusetts, residing in Middlesex

County, and brings this action both in an individual capacity, and on behalf of all others similarly

situated.

        17.      Plaintiff S.M. registered for an account on the Website and utilized it on her

personal electronic devices on multiple occasions in 2024 and 2025, to view pornographic media.

        18.      Unbeknownst to Plaintiff S.M., the Tracking Tools contemporaneously transmitted

the Sensitive Information that was communicated to and from Plaintiff S.M. as she used the

Website, including the specific videos that she viewed.

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        19.      Plaintiff S.M. never authorized Defendant to disclose any aspect of her

communications with Defendant through the Website to third parties.

        20.      On every occasion that he visited Defendant’s Website, Plaintiff S.M. possessed an

account with Google, and she accessed Defendant’s Website while logged into his Google account

on the same device.

Plaintiff J.M.

        21.      Plaintiff J.M. is a citizen of the state of California, residing in San Diego County,

and brings this action both in an individual capacity, and on behalf of all others similarly situated.

        22.      Plaintiff J.M. registered for an account on the Website and utilized it on her personal

electronic devices on multiple occasions in 2025, to view pornographic media.

        23.      Unbeknownst to Plaintiff J.M.., The Tracking Tools contemporaneously transmitted

the Sensitive Information that was communicated to and from Plaintiff J.M. as she used the

Website, including the specific videos that she viewed.

        24.      Plaintiff J.M. never authorized Defendant to disclose any aspect of her

communications with Defendant through the Website to third parties.

        25.      On every occasion that she visited Defendant’s Website, Plaintiff J.M. possessed an

account with Google, and he accessed Defendant’s Website while logged into her Google account

on the same device.

Plaintiff P.B.

        26.      Plaintiff P.B. is a citizen of the state of Massachusetts, residing in Barnstable

County, and brings this action both in an individual capacity, and on behalf of all others similarly

situated.




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       27.       Plaintiff P.B. registered for an account on the Website and utilized it on his personal

electronic devices on multiple occasions in 2024 and 2025, to view pornographic media, including

paid content.

       28.       Unbeknownst to Plaintiff P.B., the Tracking Tools contemporaneously transmitted

the Sensitive Information that was communicated to and from Plaintiff P.B. as he used the Website,

including the specific videos that he viewed.

       29.       Plaintiff P.B. never authorized Defendant to disclose any aspect of his

communications with Defendant through the Website to third parties.

       30.       On every occasion that he visited Defendant’s Website, Plaintiff P.B. possessed an

account with Google, and he accessed Defendant’s Website while logged into his Google account

on the same device.

Plaintiff A.L.

       31.       A.L. is a citizen of the state of New York, residing in Erie County, and brings this

action both in an individual capacity, and on behalf of all others similarly situated.

       32.       Plaintiff A.L. registered for an account on the Website and utilized it on her personal

electronic devices on multiple occasions in 2024, to view pornographic media, including paid

content.

       33.       Unbeknownst to Plaintiff A.L., the Tracking Tools contemporaneously transmitted

the Sensitive Information that was communicated to and from Plaintiff A.L. as she used the

Website, including the specific videos that she viewed.

       34.       Plaintiff A.L. never authorized Defendant to disclose any aspect of her

communications with Defendant through the Website to third parties.




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       35.       On every occasion that she visited Defendant’s Website, Plaintiff A.L. possessed an

account with Google, and he accessed Defendant’s Website while logged into her Google account

on the same device.

Plaintiff S.L.

       36.       S.L. is a citizen of the state of California residing in Fresno County, and brings this

action both in an individual capacity, and on behalf of all others similarly situated.

       37.       Plaintiff S.L. registered for an account on the Website and utilized it on her personal

electronic devices on multiple occasions in 2024, to view pornographic media.

       38.       Unbeknownst to Plaintiff S.L., the Tracking Tools contemporaneously transmitted

the Sensitive Information that was communicated to and from Plaintiff S.L. as she used the

Website, including the specific videos that she viewed.

       39.       Plaintiff S.L. never authorized Defendant to disclose any aspect of her

communications with Defendant through the Website to third parties.

       40.       On every occasion that she visited Defendant’s Website, Plaintiff S.L. possessed an

account with Google, and he accessed Defendant’s Website while logged into her Google account

on the same device

Defendant Fansly

       41.       Defendant Select Media, LLC d/b/a Fansly is a for-profit corporation incorporated

in the state of Maryland, with its principal place of business located at 145 West Ostend Street,

Suite 600, Baltimore, MD in the Independent City of Baltimore.

                                III.    JURISDICTION AND VENUE

       42.       This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy exceeds the sum of

$5,000,000 exclusive of interest and costs, there are more than 100 putative class members and

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minimal diversity exists because Plaintiffs and many putative class members are citizens of a

different state than Defendant. This Court also has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a) because all claims alleged herein form part of the same case or controversy.

        43.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 because this

Complaint alleges question of federal laws under the ECPA (18 U.S.C. § 2511, et seq.) and VPPA

(18 U.S.C. § 2710, et seq.).

        44.     This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

because all claims alleged herein from part of the same case or controversy.

        45.     This Court has personal jurisdiction over Defendant because Defendant has

advertised and offered its Website to consumers in the State of Massachusetts and in this judicial

district, including Plaintiffs S.M. and P.B, and has otherwise made or established contacts in the

State of Massachusetts and in this judicial district sufficient to permit the exercise of personal

jurisdiction.

        46.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to the claims in this action occurred in this judicial district.

                                  IV.     FACTUAL ALLEGATIONS

    A. THE VIDEO PRIVACY PROTECTION ACT

        47.     The VPPA was passed in 1988 in response to Congress’s concern that “the trail of

information generated by every transaction that is now recorded and stored in sophisticated record-

keeping systems is a new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-599,

at p. 7 (1988) (statement of Sen. Patrick Leahy).

        48.     In passing the VPPA, Congress was particularly alarmed about surveillance of

Americans’ media consumption, recognizing that:



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          Books and films are the intellectual vitamins that fuel the growth of individual
          thought. The whole process of intellectual growth is one of privacy-of quiet, and
          reflection. This intimate process should be protected from the disruptive intrusion
          of a roving eye…These records are a window into our loves, lives, and dislikes.

Id. (statement of Rep. Al McCandless).
          49.     Although the VPPA was originally intended to protect the privacy of an individual’s

    rental videotape selections, Congress has repeatedly reiterated that the VPPA is applicable to “‘on-

    demand’ cable services and Internet streaming services [that] allow consumers to watch movies

    or TV shows on televisions, laptop computers, and cell phones.” S. Rep. 112-258, at p. 2. 3

          50.     Under the VPPA, “[a] video tape service provider” is prohibited from “knowingly

    disclos[ing], to any person, personally identifiable information concerning any consumer of such

    provider” without the consumer’s “informed, written consent… in a form distinct and separate

    from any form setting forth other legal or financial obligations of the consumer.” 18 U.S.C. §

    2710(b).

          51.     The VPPA defines a “video tape service provider” as “any person, engaged in the

    business, in or affecting interstate or foreign commerce, of rental, sale, or delivery of pre-recorded

    video cassette tapes or similar audio-visual materials.” 18 U.S.C. § 2710(a)(4).

          52.     The VPPA additionally defines “personally identifiable information” as

    “information which identifies a person as having requested or obtained specific video materials

    or services from a video service provider.” 18 U.S.C. § 2710(a)(3).




3
  See also The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, SENATE JUDICIARY,
SUBCOMMITTEE ON PRIVACY, TECHNOLOGY AND THE LAW (Jan. 31, 2012), available online at
https://www.judiciary.senate.gov/download/hearing-transcript_-the-videoprivacy-protection-act-protecting-
viewer-privacy-in-the-21st-century (statement by Senator Leahy, who originally introduced the VPPA in the
Senate: “Now, it is true that technology has changed…but I think we should all agree that we have to be faithful
to our fundamental right to privacy and freedom. Today the social networking, video streaming, the cloud, mobile
apps, and other new technologies have revolutionized the availability of Americans’ information.”).

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          53.      Defendant is inarguably a video tape services provider under the meaning of the

    VPPA, as its primary business is monetizing access to the thousands of pornographic videos

    hosted on the Website. Accordingly, Defendant’s disclosure of the specific videos viewed by users

    of the Website, like Plaintiffs’, constitutes a violation of VPPA. See, e.g., Fan v. NBA Props. Inc.,

    No. 23-cv-05069-SI, 2024 U.S. Dist. LEXIS 57205, at *9 (N.D. Cal. Mar. 26, 2024) (“in enacting

    the VPPA, ‘Congress[] inten[ded] to cover new technologies for pre-recorded video content’” and

    “used ‘similar audio visual materials’ to ensure that VPPA’s protections would retain their force

    even as technologies evolve”).

      B. DEFENDANTS’ USE OF THIRD-PARTY TRACKING TECHNOLOGIES
                a. Google’s Mass Advertising Surveillance Operation

          54.      Google is the largest digital advertiser in the country, accounting for 26.8-percent

of the total digital advertising revenue generated in the United States. 4 In 2023, Google’s

advertising revenue of $238-billion accounted for 77-percent of its total revenue for the year. 5

          55.      Google advertises Google Analytics and other Business Tools to website operators,

like Defendant, claiming they will allow the operator to “[u]nderstand [their] site and app users,”

“check the performance of [their] marketing,” and “[g]et insights only Google can give.” 6 But, in




4
  Share of major ad-selling companies in digital advertising revenue in the United States, STATISTA (May 2024),
https://www.statista.com/statistics/242549/digital-ad-market-share-of-major-ad-selling-companies-in-the-us-
by-
revenue/#:~:text=In%202023%2C%20Google%20accounted%20for,21.1%20and%2012.5%20percent%2C%2
0respectively https://www.scientificamerican.com/article/7-in-10-smartphone-apps-share-your-data-with-third-
party-services/ (last visited Feb. 1, 2025).
5
    Florian Zandt, Google's Ad Revenue Dwarfs Competitors, STATISTA (Sep. 10, 2024),
https://www.statista.com/chart/33017/annual-advertising-revenue-of-selected-tech-companies-offering-search-
solutions/#:~:text=Online%20advertising&text=Alphabet%2C%20the%20company%20behind%20the,overall
%20revenue%20this%20past%20year (last visited Feb. 1, 2025).
6
                 Welcome               to              Google               Analytics,                GOOGLE,
https://analytics.google.com/analytics/web/provision/?authuser=0#/provision (last visited Feb. 1, 2025).

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order for website operators to get information from Google Analytics about their website’s visitors,

they must allow data collection through installation of Google’s Tracking Tools on their website. 7

          56.   Indeed, on its Privacy & Terms page, Google admits that it collects information

from third party websites, stating that: “[m]any websites and apps use Google services to improve

their content and keep it free. When they integrate our services, these sites and apps share

information with Google.” 8

          57.   Google also admits that it uses the information collected from third party websites,

such as Defendant’s, to sell targeted advertising, explaining to users that: “[f]or example, a website

that sells mountain bikes might use Google's ad services. After you visit that site, you could see an

ad for mountain bikes on a different site that shows ads served by Google.” 9

          58.   Even though Google admits that it collects information from third-party websites

through the Tracking Tools, it does not provide, nor could it provide, a publicly available list of

every webpage on which its Tracking Tools are installed. As such, the vague descriptions of

Google’s data collection practices referenced above could not give Plaintiffs and Class Members

any reason to think that Defendant was part of Google’s surveillance network.

          59.   Google aggregates the user information that it collects from third-party websites

into ‘advertising profiles’ consisting of all of the data that it has collected about a given user. 10




7
   See Aaron Ankin & Surya Matta, The High Privacy Cost of a “Free” Website, THE MARKUP,
https://themarkup.org/blacklight/2020/09/22/blacklight-tracking-advertisers-digital-privacy-sensitive-websites
(last visited Feb. 1, 2025).
8
  Privacy & Terms – How Google uses information from sites or apps that use our services, GOOGLE,
https://policies.google.com/technologies/partner-sites (last visited Feb. 1, 2025).
9
    Id.
10
   Bennett Cyphers & Gennie Gebhart, Behind the One-Way Mirror: A Deep Dive Into the Technology of
Corporate Surveillance, ELECTRONIC FRONTIER FOUNDATION (2019), available online at:
https://www.eff.org/files/2019/12/11/behind_the_one-way_mirror-
a_deep_dive_into_the_technology_of_corporate_surveillance_0.pdf.

                                                     12
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With these advertising profiles, Google can sell hyper-precise advertising services, allowing its

clients to target internet users based on combinations of their location, age, race, interests, hobbies,

life events (e.g., recent marriages, graduation, or relocation), political affiliation, education level,

home ownership status, marital status, household income, type of employment, use of specific

apps or websites, and more. 11

        60.        Google’s surveillance of individual’s internet usage is ubiquitous. In 2017,

Scientific American reported that over 70-percent of smartphone apps report “personal data to

third-party tracking companies like Google,” 12 and Google trackers are present on 74-percent of

all web traffic.

        61.        Moreover, as in this case, the data collected by Google often pertains to the most

personal and sensitive aspects of an individual’s life. For example:

              a. 81-percent of the most popular mobile apps for managing depression and quitting
                 smoking allowed Facebook and/or Google to access subscriber information,
                 including health diary entries and self-reports about substance abuse. 13

              b. Twelve of the largest pharmacy providers in the United States send information
                 regarding user’s purchases of products such as pregnancy tests, HIV tests, prenatal
                 vitamins, and Plan B to online advertisers. 14 For example, when an online shopper
                 searches for a pregnancy test, views the product page for a pregnancy test, or adds




11
       About      audience     segments,        GOOGLE      ADS,  https://support.google.com/google-
ads/answer/2497941?hl=en#zippy=%2Cin-market-segments%2Caffinity-segments%2Clife-
events%2Cdetailed-demographics (last visited Feb. 1, 2025).
12
  Narseo Vallina-Rodriguez & Srikanth Sundaresan, 7 in 10 Smartphone Apps Share Your Data with Third-Party
Services, SCIENTIFIC AMERICAN (May 30, 2017), https://www.scientificamerican.com/article/7-in-10-
smartphone-apps-share-your-data-with-third-party-services/ (last visited Feb. 1, 2025).
13
   Kit Huckvale, John Torous & Mark E. Larsen, Assessment of the Data Sharing and Privacy Practices of
Smartphone Apps for Depression and Smoking Cessation, JAMA NETWORK OPEN (2019), available online at:
https://pubmed.ncbi.nlm.nih.gov/31002321/.
14
   Darius Tahir & Simon Fondrie-Teitler, Need to Get Plan B or an HIV Test Online? Facebook May Know About
It, THE MARKUP (June 30, 2023), https://themarkup.org/pixel-hunt/2023/06/30/need-to-get-plan-b-or-an-hiv-
test-online-facebook-may-know-about-it (last visited Feb. 1, 2025).

                                                   13
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                 a pregnancy test to their online shopping cart on Kroger’s website, that information
                 is transmitted to Google. 15

        62.      This monumental, invasive surveillance of Americans’ internet usage is not

accidental. As Google’s then-CEO Eric Schmit admitted in 2010: “We know where you are. We

know where you’ve been. We can more or less know what you’re thinking about.” 16

        63.      In fact, Google values user information so highly that it provides its Business Tools

to many website operators for free, all to expand its surveillance apparatus. 17

        64.      When website operators, like Defendant, make use of Google’s Business Tools,

they are essentially choosing to participate in Google’s mass surveillance network, and in return

they benefit from Google’s collection of user data, at the expense of their website users’ privacy.

For example, Google rewards website operators for providing it with their user’s information by

granting access to its Analytics platform, which leverages demographic data collected by Google

to provide detailed analyses of the website’s user base. 18

              b. Pixels Can Record Almost Every Interaction Between a User and a Website
        65.      In order to use Google’s Business Tools, Defendant installed Google’s Tracking

Tools, including tracking Pixels, onto the Website.

        66.      Pixels are one of the tools used by website operators to track user behavior. As the

Federal Trade Commission (“FTC”) explains, a Pixel is:



15
   Jon Keegan, Forget Milk and Eggs: Supermarkets Are Having a Fire Sale on Data About You, THE MARKUP
(Feb. 16, 2023), https://themarkup.org/privacy/2023/02/16/forget-milk-and-eggs-supermarkets-are-having-a-
fire-sale-on-data-about-you (last visited Feb. 1, 2025).
16
   Andrew Orlowski, Google's Schmidt: We know what you're thinking, THE REGISTER (Oct. 4, 2020),
https://www.theregister.com/2010/10/04/google_ericisms/ (last visited Feb. 1, 2025).
17
  Analytics Overview, GOOGLE, https://marketingplatform.google.com/about/analytics/ (last visited Feb. 1,
2025) (“Google Analytics gives you the tools, free of charge”),
18
            Google           Marketing           Platform              –           Features,      GOOGLE,
https://marketingplatform.google.com/about/analytics/features/ (last visited Feb. 1, 2025).

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           [A] small piece of code that will be placed into the website or ad and define [the
           Pixel operator’s] tracking goals such as purchases, clicks, or pageviews…

           Pixel tracking can be monetized several ways. One way to monetize pixel tracking
           is for companies to use the tracking data collected to improve the company's own
           marketing campaigns…Another is that companies can monetize the data collected
           by further optimizing their own ad targeting systems and charging other companies
           to use its advertising offerings. 19
           67.      Pixels can collect a shocking amount of information regarding an internet user’s

online behavior, including the webpages viewed by the user, the amount of time spent by the user

on specific webpages, the buttons and hyperlinks that the user clicks while using a website, the

items that the user adds to an online shopping cart, the purchases that a user makes through an

online retailer, the text entered by the user into a website search bar, and even the information

provided by the user on an online form. 20

           68.      But most internet users are completely unaware that substantial information about

their internet usage is being collected through tracking Pixels. The FTC warns that:

           Traditional controls such as blocking third party cookies may not entirely prevent
           pixels from collecting and sharing information. Additionally, many consumers may
           not realize that tracking pixels exist because they’re invisibly embedded within web
           pages that users might interact with…Academic and public reporting teams have
           found that thousands of the most visited webpages have pixels and other methods
           that leak personal information to third parties. 21
                 c. The Pixels Installed on Defendant’s Website Transmit Personally Identifiable
                    Information to Google

           69.      Every website is hosted by a computer “server” that holds the website’s contents.


19
  Lurking Beneath the Surface: Hidden Impacts of Pixel Tracking, FEDERAL TRADE COMMISSION – OFFICE OF
TECHNOLOGY (Mar. 6, 2023), https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2023/03/lurking-
beneath-surface-hidden-impacts-pixel-tracking (last visited Feb. 1, 2025).
20
      See     id.;   How       does    retargeting   on     Facebook     help   your      business?,     META,
https://www.facebook.com/business/goals/retargeting (last visited Feb. 1, 2025); Tom Kemp, “Oops! I Did It
Again” … Meta Pixel Still Hoovering Up Our Sensitive Data, MEDIUM, https://tomkemp00.medium.com/oops-
i-did-it-again-meta-pixel-still-hoovering-up-our-sensitive-data-f99c7b779d47#_ftn1 (last visited Feb. 1, 2025).
21
     Lurking Beneath the Surface, supra note 23.

                                                      15
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           70.   To access a website, individuals use “web browsers.” Web browsers are software

applications that allow consumers to navigate the web and view and exchange electronic

information and communications over the Internet. Each “client device” (such as computer, tablet,

or smartphone) accesses web content through a web browser (such as Google’s Chrome, Mozilla’s

Firefox, Apple’s Safari, or Microsoft’s Edge).

           71.   Communications between a website server and web browser consist of “Requests”

and “Responses.” Any given browsing session may consist of hundreds or even thousands of

individual Requests and Responses. A web browser’s Request essentially asks the website to

provide certain information, such as the contents of a given webpage when the user clicks a link,

and the Response from the website sends back the requested information – the web pages’ images,

words, buttons, and other features that the browser shows on the user’s screen as they navigate the

website.

           72.   Additionally, on most websites, the Response sent back to the user’s web browser

directs the browser to create small files known as ‘cookies’ on the user’s device. 22 These cookies

are saved by the user’s web browser, and are used to identify the website user as they browse the

website or on subsequent visits to the site. 23 For example, in a more innocuous use case, a cookie

may allow the website to remember a user’s name and password, language settings, or shopping

cart contents. 24




22
  What is a web browser?, MOZILLA, https://www.mozilla.org/en-US/firefox/browsers/what-is-a-browser/ (last
visited Feb. 1, 2025).
23
     Id.
24
     Id.

                                                   16
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           73.     When a Google user logs onto their account, their web browser records a Google

tracking cookie. 25 This cookie includes a specific line of code that links the web browser to the

user’s Google account. 26

           74.     Google’s Pixels use cookies but operate differently than cookies. Rather than

directing the browser to save a file on the user’s device, the Pixels acquire information from the

browser, without notifying the user. The information can include details about the user, his or her

interactions with the Website, and information about the user’s environment (e.g., type of device,

type of browser, and sometimes even the physical location of the device).

           75.     Simultaneously, the Google Pixels, like those installed on Defendant’s Website,

request identifying information from any Google cookies previously installed on the user’s web

browser.

           76.     The Pixel then combines the data it received from the browser with the data it

acquired from the cookie and instructs the web browser to transmit the information back to Google.

As a result, Google can link all of the user information collected by their Pixels on the Defendant’s

Website to the user’s identity, via the user’s Google profile. Thus, even if a user never actually

logs into a website or fills out a form, the website, along with Google, can know the user’s identity.

This is a particularly troubling thought for many people who view pornography from what they

think is the privacy of their own home.




25
     Cyphers, supra note 14.
26
     Id.

                                                  17
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           77.     A remarkable number of Americans possess a Google account. Just one of Google’s

many products, its Gmail e-mail client, is used by over one-third of all Americans. 27 When these

internet users visit a website, like Defendant’s, that utilizes a Google Pixel, any information

collected by the Pixel can be linked to the user’s identity through the Google cookies installed on

the user’s web browser.

           78.     However, it is not only Google account holders that are at risk of having Pixel-

collected website data linked to their identities. Rather, Google utilizes sophisticated data tracking

methods to identify even those few users who do not have a Google account.

           79.     Google’s Pixels, like those on Defendant’s website, can acquire information about

the user’s device and browser, such as their screen resolution, time zone setting, browser software

type and version, operating system type and version, language setting, and IP address.

           80.     An internet user’s combination of such device and browser characteristics,

commonly referred to as their “browser fingerprint,” is “often unique.” 28 By tracking this browser

fingerprint, Google is able to compile a user’s activity across the internet. 29 And, as Google

continuously compiles user data over time, its understanding of the user’s browser fingerprint

becomes more sophisticated such that it needs only to collect a single piece of identifying

information to identify the user linked to a browser fingerprint.




27
   See Harsha Kiran, 49 Gmail Statistics To Show How Big It Is In 2024, TECHJURY (Jan. 3, 2024),
https://techjury.net/blog/gmail-statistics/ (last visited Feb. 1, 2025) (“Gmail accounts for 130.9 million of the
total email users in the US”). The United States population is approximately 337.4 million. See UNITED STATES
CENSUS BUREAU, https://www.census.gov/popclock/ (last visited Feb. 1, 2025).
28
     Cyphers, supra note 14.
29
     Id.

                                                       18
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             d. Defendant Disclosed Plaintiffs’ and Class Members’ Sensitive Information to
                Google

       81.      Unbeknownst to Plaintiffs and Class Members, Defendant intentionally configured

the Google Pixels installed on the Website to capture and transmit an enormous amount of the

Sensitive Information about them and their use of the Website.

       82.      In their default state as provided by Google, Google’s Pixels record and transmit

only “automatic events,” consisting largely of routine user behavior, such as clicking a link,

clicking on an advertisement, or viewing a webpage. However, the Google Pixels used on

Defendant’s Website are not in their default state. Instead, Defendant intentionally configured the

Pixels on the Website to collect and transmit large amounts of additional user data.

       83.      The below screenshot (“Figure 1”) shows the information requested and transmitted

to Google by the Pixels installed on Defendant’s Website. The information provided in Figure 1 is

exemplar information collected on Defendant’s Website, and is not Plaintiffs’ information, but the

Pixels installed on Defendant’s Website collected the same or similar information about Plaintiffs.

This information includes not just the fact that the user is watching a Fansly video but also the

URL of the video (in this example, it appears next to the cookie labeled “dl:”), and the username

of the Fansly content creator (in this example, it appears next to the cookie labeled “dr:”)

       84.      All of this information that Defendant transmitted to Google was accompanied by

specific lines of code linking the Sensitive Information provided by Plaintiffs and Class Members

to their identities. The following screenshot shows that the Google Pixel on Defendant’s Website

transmitted the identifier number attached to Google’s “cid” and “sid” cookies, which identify the

user’s Google account, along with other information that is commonly used to create a browser

fingerprint, such as the user’s language preference, screen resolution, browser software and

version, and operating system software and version.


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 Figure 1. Screenshot depicting back-end network traffic from the Website which shows
 information transmitted to Google when Website users watch a video.

       85.     The Website also informs Google about the content of every search made by users

on the Website. As the screenshot below (“Figure 2”) shows, when Website users make a search

on the Website, the Tracking Tools disclose the exact search terms to Google (in this example, they

appear next to the cookie labeled “dt:”).




 Figure 2. Screenshot depicting back-end network traffic from the Website which shows
 information transmitted to Google when Website users make a search.

                                                21
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       86.      By installing third-party Tracking Tools, including tracking Pixels, on the Website,

and by further custom configuring those Pixels to collect their Website users’ Sensitive

Information, Defendant knowingly and intentionally caused Plaintiffs’ and Class Members’

Sensitive Information to be transmitted to third parties, including Google.

   C. DEFENDANTS DISCLOSED PLAINTIFFS’ AND CLASS MEMBERS’ SENSITIVE
      INFORMATION TO THIRD PARTIES WITHOUT THEIR KNOWLEDGE OR
      CONSENT
             a. The Tracking Tools Used by Defendant Were Imperceptible to Plaintiffs and
                Class Members
       87.      The Tracking Tools installed on Defendant’s Website were invisible to Plaintiffs

and Class Members. Without analyzing the network information transmitted by Defendant’s

Website through examination of its source code or the use of sophisticated web developer tools,

there was no way for a Website user to discover the presence of the Tracking Tools. As a result,

typical internet users, such as Plaintiffs and Class Members, were unable to detect the Tracking

Tools on Defendant’s Website.

       88.      Plaintiffs and Class Members were shown no disclaimer or warning that their

Sensitive Information would be disclosed to any unauthorized third party without their express

consent.

       89.      Plaintiffs and Class Members did not know that their Sensitive Information was

being collected and transmitted to an unauthorized third party.

       90.      Because Plaintiffs and Class Members were not aware of the Google Pixels on

Defendant’s website, or that their Sensitive Information would be collected and transmitted to

Google, they could not and did not consent to Defendant’s conduct.




                                                 22
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     D. DEFENDANT WAS ENRICHED BY ITS DISCLOSURE OF PLAINTIFFS’ AND
        CLASS MEMBERS’ SENSITIVE INFORMATION TO THIRD PARTIES

               a. Defendant Received Material Benefits in Exchange for Plaintiffs’ Sensitive
                  Information
         91.      As explained, supra, users of Google’s Business Tools, like Defendant, receive

access to advertising and marketing analytics services in exchange for installing Google’s Tracking

Tools on their website.

         92.      Upon information and belief, Defendant, as a user of Google’s Business Tools,

received compensation in the form of advanced advertising services and cost-effective marketing

on third-party platforms in exchange for allowing Google to collect Plaintiffs’ and Class Members’

Sensitive Information.

               b. Plaintiffs’ and Class Members’ Data Had Financial Value

         93.      Moreover, Plaintiffs’ and Class Members’ Sensitive Information had value, and

Defendant’s disclosure and interception of that Sensitive Information harmed Plaintiffs and the

Class.

         94.      According to the financial statements of Facebook, another major seller of online

advertisements, the value derived from user data has continuously risen. “In 2013, the average

American’s data was worth about $19 per year in advertising sales to Facebook, according to its

financial statements. In 2020, [it] was worth $164 per year.” 30

         95.      Conservative estimates suggest that in 2018, Internet companies earned $202 per

American user from mining and selling data. That figure is only due to keep increasing; estimates

for 2022 are as high as $434 per user, for a total of more than $200 billion industry wide.



30
  Geoffrey A. Fowler, There’s no escape from Facebook, even if you don’t use it, THE WASHINGTON POST (Aug.
29, 2021), https://www.washingtonpost.com/technology/2021/08/29/facebook-privacy-monopoly/ (last visited
Feb. 1, 2025).

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       96.     Several companies have products through which they pay consumers for a license

to track certain information. Google, Nielsen, UpVoice, HoneyGain, and SavvyConnect are all

companies that pay for browsing history information.

       97.     The unauthorized disclosure of Plaintiffs’ and Class Members’ private and Sensitive

Information has diminished the value of that information, resulting in harm including Plaintiffs

and Class Members.

     E. PLAINTIFFS’ AND CLASS MEMBERS’ REASONABLE EXPECTATION OF
        PRIVACY

       98.     At all times when Plaintiffs and Class Members provided their Sensitive

Information to Defendant, they each had a reasonable expectation that the information would

remain confidential and that Defendant would not share the Sensitive Information with third parties

for a commercial purpose, unrelated to providing them with video content.

       99.     Privacy polls and studies show that the overwhelming majority of Americans

consider obtaining an individual’s affirmative informed consent before a company collects and

shares that individual’s data to be one of the most important privacy rights.

       100.    For example, a recent Consumer Reports study shows that 92-percent of Americans

believe that internet companies and websites should be required to obtain consent before selling

or sharing consumer data, and the same percentage believe those companies and websites should

be required to provide consumers with a complete list of the data that is collected about them. 31

       101.    Individuals are particularly sensitive about disclosure of information relating to

pornography usage. Extensive research has shown that pornography usage is nearly ubiquitously

linked to significant feelings of shame, particularly because of the societal stigma attached to the


31
  Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey Finds, CONSUMER
REPORTS (May 11, 2017), https://www.consumerreports.org/consumer-reports/consumers-less-confident-about-
healthcare-data-privacy-and-car-safety-a3980496907 (last visited Feb. 1, 2025).

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consumption of pornography. 32 As a result, qualitative studies have showed that the most common

behavior among those who consume pornography is “keeping their pornography viewing secret

from others, such as partners and family.” 33

           102.    Personal data privacy and obtaining consent to share Sensitive Information are

material to Plaintiffs and Class Members.

                                     V.      TOLLING AND ESTOPPEL

           103.     Any applicable statutes of limitation have been tolled by Defendant’s knowing and

active concealment of its incorporation of Google’s Tracking Tools into the Website.

           104.    The Pixels and other tracking tools on Defendant’s Website were and are invisible

to the average website visitor.

           105.    Through no fault or lack of diligence, Plaintiffs and Class Members were deceived

and could not reasonably discover Defendant’s deception and unlawful conduct.

           106.    Plaintiffs were ignorant of the information essential to pursue their claims, without

any fault or lack of diligence on their part.

           107.    Defendant had exclusive knowledge that the Website incorporated the Pixels and

other Tracking Tools and yet failed to disclose to customers, including Plaintiffs and Class



32
   See Wendy G. Macdowall, et al., Pornography Use Among Adults in Britain: A Qualitative Study of Patterns
of Use, Motivations, and Stigma Management Strategies, ARCH. SEX. BEHAV. (Apr. 3, 2025), at p. 2, available
online at: https://link.springer.com/article/10.1007/s10508-025-03112-7 (compiling studies finding shame and
social stigma associated with pornography); Luke Sniewski and Pani Farvid, Hidden in Shame: Heterosexual
Men’s Experiences of Self-Perceived Problematic Pornography Use, 21(2) PSYCH. MEN & MASC. 210 (July 18,
2019), available online at: https://www.lukesniewski.com/wp-content/uploads/2019/09/Hidden-in-Shame.pdf
(“The main reason men kept their viewing hidden from the world was because of the accompanying experiences
of guilt and shame that would inevitably follow most—if not all—viewing sessions”); Michael Tholander, Sofia
Johansso, Klara Thunell and Örjan Dahlström, Traces of Pornography: Shame, Scripted Action, and Agency in
Narratives of Young Swedish Women, 26 SEXUAL. & CULT. 1826 (May 11, 2022) (noting “private and silent
shame” associated with pornography consumption due to attitudes that viewing pornography is “’dirty,’
‘disgusting,’     ‘hideous,’     ‘repugnant,”    ‘unnatural,’  and   ‘vulgar’”),   available     online   at:
https://link.springer.com/article/10.1007/s12119-022-09973-7/.
33
     Macdowall, supra note 32, at pp. 3-8.

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Members, that by visiting the Website, Plaintiffs’ and Class Members’ Sensitive Information

would be disclosed or released to unauthorized third parties, including Google.

       108.       Under the circumstances, Defendant was under a duty to disclose the nature,

significance, and consequences of their collection and treatment of Website users’ Sensitive

Information. In fact, Defendant still has not conceded, acknowledged, or otherwise indicated to

their customers that it has disclosed or released their Sensitive Information to unauthorized third

parties. Accordingly, Defendant is estopped from relying on any statute of limitations.

       109.       Moreover, all applicable statutes of limitation have also been tolled pursuant to the

discovery rule.

       110.       The earliest that Plaintiffs or Class Members, acting with due diligence, could have

reasonably discovered Defendant’s conduct would have been shortly before the filing of this

Complaint.

                                     VI.     CLASS ALLEGATIONS

       111.       This action is brought by the named Plaintiffs both individually, and on behalf of a

proposed Class of all other persons similarly situated under Federal Rules of Civil Procedure

23(b)(2), 23(b)(3), and 23(c)(4).

       112.       The Nationwide Class that Plaintiffs seek to represent is defined as follows:

       The Nationwide Class

       All natural persons who watched a video on the Website, and whose Sensitive Information
       was disclosed or transmitted Google or any other unauthorized third party.

       113.       In addition to the claims asserted on behalf of the Nationwide Class, Plaintiffs assert

claims on behalf of separate California, New York and Massachusetts Subclasses, which are

defined as follows:



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       California Subclass

       All natural persons residing in California who watched a video on the Website, and whose
       Sensitive Information was disclosed or transmitted Google or any other unauthorized third
       party.

       New York Subclass

       All natural persons residing in New York who watched a video on the Website, and whose
       Sensitive Information was disclosed or transmitted Google or any other unauthorized third
       party.

       Massachusetts Subclass

       All natural persons residing in Massachusetts who watched a video on the Website, and
       whose Sensitive Information was disclosed or transmitted Google or any other
       unauthorized third party.

       114.    The Nationwide Class, California Subclass, New York Subclass, and Massachusetts

Subclass are collectively referred to herein as the “Class.” Excluded from the proposed Class are

any claims for personal injury, wrongful death, or other property damage sustained by the Class;

and any Judge conducting any proceeding in this action and members of their immediate families.

       115.    Plaintiffs reserve the right to amend the definitions of the Class or add subclasses

if further information and discovery indicate that the definitions of the Class should be narrowed,

expanded, or otherwise modified.

       116.    Numerosity. The Class is so numerous that the individual joinder of all members

is impracticable. There are at least 10,000 individuals that have been impacted by Defendant’s

actions. Moreover, the exact number of those impacted is generally ascertainable by appropriate

discovery and is in the exclusive control of Defendant.

       117.    Commonality. Common questions of law or fact arising from Defendant’s conduct

exist as to all members of the Class, which predominate over any questions affecting only

individual Class Members. These common questions include, but are not limited to, the following:



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       a)       Whether and to what extent Defendant had a duty to protect the
                Sensitive Information of Plaintiffs and Class Members;

       b)       Whether Defendant had duties not to disclose the Sensitive Information
                of Plaintiffs and Class Members to unauthorized third parties;

       c)       Whether Defendant adequately, promptly, and accurately informed
                Plaintiffs and Class Members that their Sensitive Information would be
                disclosed to third parties;

       d)       Whether Defendant violated the law by failing to promptly notify
                Plaintiffs and Class Members that their Sensitive Information was
                being disclosed without their consent;

       e)       Whether Defendant adequately addressed and fixed the practices which
                permitted the unauthorized disclosure of patients’ Sensitive
                Information;

       f)       Whether Defendant engaged in unfair, unlawful, or deceptive practices
                by failing to keep the Sensitive Information belonging to Plaintiffs and
                Class Members free from unauthorized disclosure;

       g)       Whether Defendant violated the Video Privacy Protection Act, as
                alleged in this Complaint;

       h)       Whether Plaintiffs and Class Members are entitled to actual,
                consequential, and/or nominal damages as a result of Defendant’s
                wrongful conduct;

       i)       Whether Plaintiffs and Class Members are entitled to injunctive relief
                to redress the imminent and currently ongoing harm faced as a result of
                the Defendant’s disclosure of their Sensitive Information.

       118.    Typicality. Plaintiffs’ claims are typical of those of other Class Members because

Plaintiffs’ Sensitive Information, like that of every other Class Member, was compromised as a

result of Defendant’s incorporation and use of the Tracking Tools.

       119.    Adequacy. Plaintiffs will fairly and adequately represent and protect the interests

of the members of the Class in that Plaintiffs have no disabling conflicts of interest that would be

antagonistic to those of the other members of the Class. Plaintiffs seek no relief that is antagonistic

or adverse to the members of the Class and the infringement of the rights and the damages Plaintiffs

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have suffered are typical of other Class Members. Plaintiffs have also retained counsel experienced

in complex class action litigation, and Plaintiffs intend to prosecute this action vigorously.

        120.    Predominance. Defendant has engaged in a common course of conduct toward

Plaintiffs and Class Members in that all the Plaintiffs’ and Class Members’ data was unlawfully

stored and disclosed to unauthorized third parties, including third parties, like Google, in the same

way. The common issues arising from Defendant’s conduct affecting Class Members set out above

predominate over any individualized issues. Adjudication of these common issues in a single

action has important and desirable advantages of judicial economy.

        121.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claim is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

        122.    Defendant acted on grounds that apply generally to the Class as a whole so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a class-

wide basis.

        123.    Likewise, particular issues under Fed. R. Civ. P. 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the resolution of which



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would advance the disposition of this matter and the parties’ interests therein. Such particular

issues include, but are not limited to:

            a) Whether Defendant owed a legal duty to Plaintiffs and the Class to
               exercise due care in collecting, storing, and safeguarding their Sensitive
               Information and not disclosing it to unauthorized third parties;

            b) Whether Defendant breached a legal duty to Plaintiffs and Class
               Members to exercise due care in collecting, storing, using, and
               safeguarding their Sensitive Information;

            c) Whether Defendant failed to comply with applicable laws, regulations,
               and industry standards relating to data security;

            d) Whether Defendant adequately and accurately informed Plaintiffs and
               Class Members that their Sensitive Information would be disclosed to
               third parties;

            e) Whether Defendant failed to implement and maintain reasonable
               security procedures and practices appropriate to the nature and scope of
               the information disclosed to third parties;

            f) Whether Class Members are entitled to actual, consequential, and/or
               nominal damages and/or injunctive relief as a result of Defendant’s
               wrongful conduct.

        124.    Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the unauthorized disclosures that have

taken place.

                                        COUNT I
   COMMON LAW INVASION OF PRIVACY - INTRUSION UPON SECLUSION
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the California, New York
                               and Massachusetts Subclasses)
        125.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 124

as if fully set forth herein.

        126.    Plaintiffs and Class Members have an interest in: (1) precluding the dissemination

and/or misuse of their sensitive, highly personal Sensitive Information; and (2) making personal

decisions and/or conducting personal activities without observation, intrusion or interference,
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including, but not limited to, the right to visit and interact with various internet sites without being

subjected to the exfiltration of their communications without Plaintiffs’ and Class Members’

knowledge or consent.

        127.    Plaintiffs and Class Members had a reasonable expectation of privacy in their

communications with Defendant via the Website and the communications platforms and services

therein.

        128.    Plaintiffs and Class Members communicated Sensitive Information that they

intended for only Defendant to receive and that they understood Defendant would keep private

and secure.

        129.    Defendant’s disclosure of the substance and nature of those communications to

third parties without the knowledge and informed consent of Plaintiffs and Class Members is an

intentional intrusion on Plaintiffs’ and Class Members’ solitude or seclusion.

        130.    Plaintiffs and Class Members have a general expectation that their communications

regarding sensitive, highly personal information would be protected from surreptitious disclosure

to third parties.

        131.    Defendant’s disclosure of Plaintiffs’ and Class Members’ Sensitive Information

coupled with individually identifying information is highly offensive to the reasonable person.

        132.    As a result of Defendant’s actions, Plaintiffs and Class Members have suffered

harm and injury including, but not limited to, an invasion of their privacy rights.

        133.    Plaintiffs and Class Members have been damaged as a direct and proximate result

of Defendant’s invasion of their privacy and are entitled to compensatory and/or nominal damages.

        134.    Plaintiffs and Class Members seek appropriate relief for that injury including, but

not limited to, damages that will reasonably compensate Plaintiffs and Class Members for the harm



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to their privacy interests as a result of the intrusions upon their privacy.

        135.    Plaintiffs and Class Members are also entitled to punitive damages resulting from

the malicious, willful and intentional nature of Defendant’s actions, directed at injuring Plaintiffs

and Class Members in conscious disregard of their rights. Such damages are needed to deter

Defendant from engaging in such conduct in the future.

        136.    Plaintiffs also seek such other relief as the Court may deem just and proper.

                                       COUNT II
                                     NEGLIGENCE
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the California, New York
                               and Massachusetts Subclasses)

        137.    Plaintiffs repeat and reallege the allegations contained in paragraphs 125 through

136 as if fully set forth herein.

        138.    Through using Defendant’s Website, Plaintiffs and Class Members provided them

with their Sensitive Information.

        139.    By collecting and storing data related to Plaintiffs and Class Members use of the

Website, Defendant had a duty of care to use reasonable means to secure and safeguard it from

unauthorized disclosure to third parties.

        140.    Defendant negligently, recklessly, and/or intentionally failed to take reasonable

steps to protect Plaintiffs’ and Class Members’ Sensitive Information from being disclosed to third

parties, without their consent, including to Google.

        141.    Defendant further negligently, recklessly, and/or intentionally omitted to inform

Plaintiffs and the Class that it would use their Sensitive Information for marketing purposes, or

that their Sensitive Information would be transmitted to third parties.

        142.    Defendant knew, or reasonably should have known, that Plaintiffs and the Class

would not have provided their Sensitive Information to Defendant, had Plaintiffs and the Class

                                                  32
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known that Defendant intended to use that information for unlawful purposes.

       143.    Defendant’s conduct has caused Plaintiffs and the Class to suffer damages by

having their highly confidential, personally identifiable Sensitive Information accessed, stored,

and disseminated without their knowledge or consent.

       144.    Plaintiffs and Class Members are entitled to compensatory, nominal, and/or

punitive damages.

       145.    Defendant’s negligent conduct is ongoing, in that they still hold the Sensitive

Information of Plaintiffs and Class Members in an unsafe and unsecure manner. Therefore,

Plaintiffs and Class Members are also entitled to injunctive relief requiring Defendant to (i)

strengthen its data security systems and monitoring procedures; (ii) cease collection and

dissemination of the Website users’ Sensitive Information to third parties; and (iii) submit to future

annual audits of those systems and monitoring procedures.

                                       COUNT III
                          BREACH OF IMPLIED CONTRACT
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the California, New York
                               and Massachusetts Subclasses)

       146.    Plaintiffs repeat and reallege the allegations contained in paragraphs 137 through

145 as if fully set forth herein.

       147.    When Plaintiffs and Class Members provided their Sensitive Information to

Defendant in exchange for services, they entered into an implied contract pursuant to which

Defendant agreed to safeguard and not disclose their Sensitive Information without consent.

       148.    Plaintiffs and Class Members accepted Defendant’s offers and provided their

Sensitive Information to Defendant.

       149.    Plaintiffs and Class Members would not have entrusted Defendant with their

Sensitive Information in the absence of an implied contract between them and Defendant

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obligating Defendant to not disclose Sensitive Information without consent.

         150.   Defendant breached these implied contracts by disclosing Plaintiffs’ and Class

Members’ Sensitive Information to third parties like Google.

         151.   As a direct and proximate result of Defendant’s breaches of these implied contracts,

Plaintiffs and Class Members sustained damages as alleged herein.

         152.   Plaintiffs and Class Members would not have used Defendant’s services had they

known their Sensitive Information would be disclosed.

         153.   Plaintiffs and Class Members are entitled to compensatory, consequential, and/or

nominal damages as a result of Defendant’s breaches of implied contract.

                                       COUNT IV
                                UNJUST ENRICHMENT
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the California, New York
                               and Massachusetts Subclasses)

         154.   Plaintiffs repeat and reallege the allegations contained in paragraphs 146 through

153 as if fully set forth herein.

         155.   Plaintiffs plead this claim in the alternative to their breach of implied contract

claim.

         156.   Plaintiffs and Class Members conferred a monetary benefit on Defendant in the

form of subscription fees to its services. Additionally, they provided their Sensitive Information to

Defendant, which Defendant exchanged for marketing and advertising services, as described,

supra.

         157.   Defendant knew that Plaintiffs and Class Members conferred a benefit which

Defendant accepted. Defendant profited from the Sensitive Information of Plaintiffs and Class

Members by exchanging it for marketing and advertising services.

         158.   In particular, Defendant enriched itself by obtaining the inherent value of Plaintiffs’

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and Class Members’ Sensitive Information, and by exchanging Plaintiffs’ and Class Members’

Sensitive Information to third parties, like Google, in exchange for advertising and marketing

services.

       159.    Plaintiffs and Class Members, on the other hand, suffered as a direct and proximate

result of Defendant’s decision to prioritize their own profits over the privacy of their Sensitive

Information.

       160.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiffs and Class Members, obtained by its

surreptitious collection and transmission of their Sensitive Information.

       161.    If Plaintiffs and Class Members knew that Defendant had not reasonably secured

their Sensitive Information, they would not have agreed to provide their Sensitive Information to

Defendant.

       162.    Plaintiffs and Class Members have no adequate remedy at law for this count. An

unjust enrichment theory provides the equitable disgorgement of profits even where an individual

has not suffered a corresponding loss in the form of money damage.

       163.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will continue to suffer injury.

       164.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class Members, proceeds that they unjustly received from

them, or to refund the amounts that Plaintiffs and Class Members overpaid for Defendant’s

services.




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                                        COUNT V
               VIOLATIONS OF THE VIDEO PRIVACY PROTECTION ACT
                                 18 U.S.C. § 2710, et seq.
                    (On Behalf of Plaintiffs and the Nationwide Class)

        165.    Plaintiffs repeat and reallege the allegations contained in paragraphs 154 through

164 as if fully set forth herein.

        166.    The VPPA provides that “a video tape service provider who knowingly discloses,

to any person, personally identifiable information concerning any consumer shall be liable to the

aggrieved person[.]” 18 U.S.C. § 2710(b)(1).

        167.    “Personally-identifiable information” is defined to include “information which

identifies a person as having requested or obtained specific video materials or services from a

video tape service provider.” 18 U.S.C. § 2710(a)(3).

        168.    A “video tape service provider” is “any person, engaged in the business, in or

affecting interstate commerce, of rental, sale, or delivery of pre-recorded video cassette tapes or

similar audio visual materials.” 18 U.S.C. § 2710(a)(4).

        169.    Defendant is a “video tape service provider” because their primary business is the

monetization of the thousands of videos hosted on the Website, thereby “engag[ing] in the

business, in or affecting interstate or foreign commerce, of rental, sale, or delivery of pre-recorded

video cassette tapes or similar audio visual materials.” 18 U.S.C. § 2710(a)(4).

        170.    Defendant violated the VPPA by knowingly disclosing Plaintiffs’ and Class

Members’ personally identifiable information to Google through the Tracking Tools without

obtaining informed, written consent.

        171.    As a result of Defendant’s violations of the VPPA, Plaintiffs and the Class are

entitled to all damages available under the VPPA including declaratory relief, injunctive and




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equitable relief, statutory damages of $2,500 for each violation of the VPPA, and attorney’s fees,

filing fees, and costs.

                                  COUNT VI
    VIOLATIONS OF THE ELECTRONIC COMMUNICATIONS PRIVACY ACT
                    (“ECPA”), 18 U.S.C. § 2511(1), et seq.
                 Unauthorized Interception, Use, and Disclosure
                (On Behalf of Plaintiffs and the Nationwide Class)

        172.    Plaintiffs repeat and reallege the allegations contained in paragraphs 165 through

171 as if fully set forth herein.

        173.    The ECPA protects both sending and receipt of communications.

        174.    18 U.S.C. § 2520(a) provides a private right of action to any person whose wire or

electronic communications are intercepted, disclosed, or intentionally used in violation of Chapter

119.

        175.    The transmissions of Plaintiffs’ Sensitive Information to Defendant’s Website

qualify as “communications” under the ECPA’s definition of 18 U.S.C. § 2510(12).

        176.    Electronic Communications. The transmission of Sensitive Information between

Plaintiffs and Class Members and Defendant’s Website with which they chose to exchange

communications are “transfer[s] of signs, signals, writing,…data, [and] intelligence of [some]

nature transmitted in whole or in part by a wire, radio, electromagnetic, photoelectronic, or

photooptical system that affects interstate commerce” and are therefore “electronic

communications” within the meaning of 18 U.S.C. § 2510(2).

        177.    Content. The ECPA defines content, when used with respect to electronic

communications, to “include[] any information concerning the substance, purport, or meaning of

that communication.” 18 U.S.C. § 2510(8) (emphasis added).




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       178.   Interception. The ECPA defines the interception as the “acquisition of the contents

of any wire, electronic, or oral communication through the use of any electronic, mechanical, or

other device” and “contents … include any information concerning the substance, purport, or

meaning of that communication.” 18 U.S.C. § 2510(4), (8).

       179.   Electronic, Mechanical or Other Device. The ECPA defines “electronic,

mechanical, or other device” as “any device … which can be used to intercept a[n] … electronic

communication[.]” 18 U.S.C. § 2510(5). The following constitute “devices” within the meaning

of 18 U.S.C. § 2510(5):

       a.     Plaintiffs’ and Class Members’ browsers;

       b.     Plaintiffs’ and Class Members’ computing devices;

       c.     Defendant’s web-servers; and

       d.     The Pixel code deployed by Defendant to effectuate the sending and

              acquisition of patient communications.

       180.   By utilizing and embedding the Pixels on the Website, Defendant intentionally

intercepted, endeavored to intercept, and procured another person to intercept, the electronic

communications of Plaintiffs and Class Members, in violation of 18 U.S.C. § 2511(1)(a).

       181.   Specifically, Defendant intercepted Plaintiffs’ and Class Members’ electronic

communications via the Pixels, which tracked, stored, and unlawfully disclosed Plaintiffs’ and

Class Members’ Sensitive Information to third parties such as Google.

       182.   Defendant’s intercepted communications include, but are not limited to,

communications to/from Plaintiffs and Class Members regarding their Sensitive Information.

       183.   By intentionally disclosing or endeavoring to disclose the electronic

communications of Plaintiffs and Class Members to third parties, while knowing or having reason



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to know that the information was obtained through the interception of an electronic communication

in violation of 18 U.S.C. § 2511(1)(a), Defendant violated 18 U.S.C. § 2511(1)(c).

       184.    By intentionally using, or endeavoring to use, the contents of the electronic

communications of Plaintiffs and Class Members, while knowing or having reason to know that

the information was obtained through the interception of an electronic communication in violation

of 18 U.S.C. § 2511(1)(a), Defendant violated 18 U.S.C. § 2511(1)(d).

       185.    Unauthorized Purpose. Defendant intentionally intercepted the contents of

Plaintiffs’ and Class Members’ electronic communications for the purpose of committing a tortious

act in violation of the Constitution or laws of the United States or of any State—namely, invasion

of privacy, among others.

       186.    The ECPA provides that a “party to the communication” may liable where a

“communication is intercepted for the purpose of committing any criminal or tortious act in

violation of the Constitution or laws of the United States or of any State.” 18 U.S.C § 2511(2)(d).

       187.    Defendant is not a party for purposes to the communication based on its

unauthorized duplication and transmission of communications with Plaintiffs and the Class.

However, even assuming Defendant is a party, Defendant’s simultaneous, unknown duplication,

forwarding, and interception of Plaintiffs’ and Class Members’ Sensitive Information does not

qualify for the party exemption.

       188.    Defendant’s acquisition of sensitive communications that were used and disclosed

to Google was done for purposes of committing criminal and tortious acts in violation of the laws

of the United States and individual States nationwide as set forth herein, including:

       a.      Invasion of privacy;
       b.      Breach of confidence;
       c.      Breach of implied contract;
       d.      Violations of the Video Privacy Protection Act, 18 U.S.C. § 2710, et seq.;

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       e.      Violations of N.Y. Gen. Bus. Law § 349;
       f.      Violations of the California Invasion of Privacy Act, Cal. Pen. Code § 360, et seq.;
       g.      Violations of the Massachusetts Right to Privacy Law, Mass. Ann. Laws Ch. 214,
               § 1b; and
       h.      Violations of the California Unfair Competition Law, Cal. Bus. & Prof. Code, §
               17200, et seq.

       189.    Defendant’s conduct violated 42 U.S.C. § 1320d-6 in that it used and caused to be

used cookie identifiers associated with specific users, including Plaintiffs and Class Members,

without user authorization; and disclosed individually identifiable Sensitive Information to Google

without user authorization.

       190.    Defendant is not exempt from ECPA liability under 18 U.S.C. § 2511(2)(d) on the

ground that it was a participant in Plaintiffs’ and Class Members’ communications about their

Sensitive Information on the Website, because it used its participation in these communications to

improperly share Plaintiffs’ and Class Members’ Sensitive Information with Google and third-

parties that did not participate in these communications, that Plaintiffs and Class Members did not

know were receiving their Sensitive Information, and that Plaintiffs and Class Members did not

consent to receive their Sensitive Information.

       191.    As such, Defendant cannot viably claim any exception to ECPA liability.

       192.    Plaintiffs and Class Members have suffered damages as a direct and proximate

result of Defendant’s invasion of privacy in that:

            a. Learning that Defendant has intruded upon, intercepted, transmitted,
               shared, and used their Sensitive Information for commercial purposes has
               caused Plaintiffs and Class Members to suffer emotional distress;

            b. Defendant received substantial financial benefits from its use of Plaintiffs’
               and Class Members’ Sensitive Information without providing any value or
               benefit to Plaintiffs or Class Members;

            c. Defendant received substantial, quantifiable value from its use of
               Plaintiffs’ and Class Members’ Sensitive Information, such as
               understanding how people use the Website and determining what ads

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               people see on the Website, without providing any value or benefit to
               Plaintiffs or Class Members;

           d. The diminution in value of Plaintiffs’ and Class Members’ Sensitive
              Information and/or the loss of privacy due to Defendant making such
              Sensitive Information, which Plaintiffs and Class Members intended to
              remain private, no longer private.

       193.    Defendant intentionally used the wire or electronic communications to increase its

profit margins. Defendant specifically used the Pixels to track and utilize Plaintiffs’ and Class

Members’ Sensitive Information for financial gain.

       194.    Defendant was not acting under color of law to intercept Plaintiffs’ and the Class

Members’ wire or electronic communication.

       195.    Plaintiffs and Class Members did not authorize Defendant to acquire the content of

their communications for purposes of invading their privacy via the Pixels.

       196.    Any purported consent that Defendant may claim to have received from Plaintiffs

and Class Members was not valid.

       197.    In sending and acquiring the content of Plaintiffs’ and Class Members’

communications relating to the browsing of Defendant’s Website, Defendant’s purpose was

tortious, criminal, and designed to violate federal and state legal provisions including a knowing

intrusion into a private, place, conversation, or matter that would be highly offensive to a

reasonable person.

       198.    As a result of Defendant’s violation of the ECPA, Plaintiffs and the Class are

entitled to all damages available under 18 U.S.C. § 2520, including statutory damages of

whichever is the greater of $100 a day for each day of violation or $10,000, equitable or declaratory

relief, compensatory and punitive damages, and attorney’s fees and costs.




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                                COUNT VII
 VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW – DECEPTIVE ACTS
                             OR PRACTICES
                         N.Y. Gen. Bus. Law § 349
            (On Behalf of Plaintiff A.L. and the New York Subclass)

        199.    Plaintiffs repeat and reallege the allegations contained in paragraphs 172 through

198 as if fully set forth herein.

        200.    N.Y. Gen. Bus. Law § 349 prohibits use of “[d]eceptive acts or practices in the

conduct of any business, trade or commerce or in the furnishing of any service[.]”

        201.    Defendant violated N.Y. Gen. Bus. Law § 349 by:

            a. Using the Tracking Technologies to record and transmit the sensitive

                communications made by and to Plaintiff A.L., and New York Subclass Members

                through the Website with third parties, including Google, without their knowledge

                of consent; and

            b. Disclosing the sensitive communications made by and to Plaintiff A.L. and New

                York Subclass Members through the Website to third parties, including Google, in

                exchange for marketing and advertising services.

        202.    Defendant intended to mislead Plaintiff A.L. and New York Subclass Members

and intended to induce Plaintiff A.L. and New York Subclass Members to rely on its

misrepresentations and omissions.

        203.    As a result of Defendant’s violation of N.Y. Gen. Bus. Law. § 349, Plaintiff A.L.,

and New York Subclass Members are entitled to actual damages, treble damages, and attorneys’

fees, filing fees, and costs.




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                                   COUNT VIII
   VIOLATIONS OF THE CALIFORNIA INVASION OF PRIVACY ACT (“CIPA”)
                           Cal. Pen. Code § 360, et seq.
         (On Behalf of Plaintiffs J.M. and S.L., and the California Subclass)

        204.    Plaintiffs repeat and reallege the allegations contained in paragraphs 199 through

203 as if fully set forth herein.

        205.    The California Legislature enacted CIPA in response to “advances in science and

technology” that “have led to the development of new devices and techniques for the purpose of

eavesdropping upon private communications[,]” recognizing that “the invasion of privacy

resulting from the continual and increasing use of such devices and techniques has created a serious

threat to the free exercise of personal liberties and cannot be tolerated in a free and civilized

society.” Cal. Pen. Code. § 630.

        206.    Under CIPA, it is unlawful to:

                a. “[W]illfully and without the consent of all parties to the communication, or in

                     any unauthorized manner, read[], or attempt[] to read, or to learn the contents

                     or meaning of any message, report, or communication while the same is in

                     transit or passing over any wire, line, or cable, or is being sent from, or received

                     at any place within this state;” or

                b.   “[U]se, or attempt[] to use, in any manner, or for any purpose, or to

                     communicate in any way, any information so obtained[;]” or

                c. [A]id, agree[] with, employ[], or conspire[] with any person or persons to

                     unlawfully do, or permit, or cause to be done any of the acts [prohibited by

                     CIPA.]”

Cal. Penal Code § 631(a) (emphasis added).




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           207.   At all relevant times, Defendant aided, employed, agreed with, and conspired with

Google, and likely other third parties, to track and intercept Plaintiff J.M.’s, Plaintiff S.L.’s. and

California Subclass Members' internet communications while using the Website, specifically by

installing and configuring the Tracking Tools to permit Google to eavesdrop on and intercept in

real-time the content of Plaintiff J.M.’s, Plaintiff S.L.’s. and California Subclass Members' private

communications with Defendant.

           208.   The content of those conversations included Sensitive Information. Through

Defendant’s installation and configuration of the Tracking Tools on the Website, these

communications were intercepted by Google during the communications and without the

knowledge, authorization, or consent of Plaintiff J.M., Plaintiff S.L.. and California Subclass

Members.

           209.   Defendant intentionally inserted an electronic device into their Website that,

without the knowledge and consent of Plaintiff J.M., Plaintiff S.L.. and California Subclass

Members, transmitted the substance of their confidential communications with Defendant to third

parties.

           210.   Defendant willingly facilitated Google’s and other third parties’ interception and

collection of Plaintiff J.M.’s, Plaintiff S.L.’s. and California Subclass Members' Sensitive

Information by embedding the Tracking Tools on the Website, thereby assisting Google’s

eavesdropping

           211.   The following items constitute “machine[s], instrument[s], or contrivance[s]” under

the CIPA, and even if they do not, the Tracking Tools falls under the broad catch-all category of

“any other manner”:




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               a. The computer codes and programs Google and other third parties used to track

                   intercept Plaintiff J.M.’s, Plaintiff S.L.’s., and the California Subclass Members’

                   communications while they were navigating the Website;

               b. Plaintiff J.M.’s, Plaintiff S.L.’s., and the California Subclass Members’ internet

                   browsers;

               c. Plaintiff J.M.’s, Plaintiff S.L.’s., and the California Subclass Members’

                   computing and mobile devices;

               d. Google’s web and ad servers;

               e. The web and ad servers from which Google and other third parties tracked and

                   intercepted Plaintiff J.M.’s, Plaintiff S.L.’s., and the California Subclass

                   Members’ communications while they were using a web browser to access or

                   navigate the Website; and

               f. The computer codes and programs used by Google and other third parties to

                   effectuate their tracking and interception of Plaintiff J.M.’s, Plaintiff S.L.’s., and

                   the California Subclass Members’ communications while they were using a

                   browser to visit the Website.

       212.    As demonstrated hereinabove, Defendant violated CIPA by aiding and permitting

third parties, including Google and their agents, employees, and contractors to receive Plaintiffs'

and Class Members' Sensitive Information in real time through the Website without their consent

       213.    By disclosing Plaintiff J.M.’s, Plaintiff S.L.’s., and the California Subclass

Members’ Sensitive information, Defendant violated Plaintiff J.M.’s, Plaintiff S.L.’s., and

California Subclass Members’ statutorily protected right to privacy.




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        214.    As a result of Defendant’s violation of the CIPA, Plaintiff J.M., Plaintiff S.L., and

the California Subclass Members are entitled to treble actual damages related to their loss of

privacy in an amount to be determined at trial, statutory damages, attorney’s fees, litigation costs,

injunctive and declaratory relief, and punitive damages.

                                     COUNT IX
   VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
                       Cal. Bus. & Prof. Code, § 17200, et seq.
        (On Behalf of Plaintiff J.M., Plaintiff S.L., and the California Subclass)

        215.    Plaintiffs repeat and reallege the allegations contained in paragraphs 204 through

214 as if fully set forth herein.

        216.    The UCL prohibits any “unlawful, unfair or fraudulent business act or practice” and

any “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code, § 17200.

        217.    Defendant violated the “unlawful” prong of the UCL by violating Plaintiff J.M.’s,

Plaintiff S.L.’s., and the California Subclass Members’ right to privacy, as well as by violating the

statutory counts alleged herein.

        218.    Defendant violated the unfair prong of the UCL by:

            a. Using the Tracking Technologies to record and transmit the sensitive

                communications made by and to Plaintiff J.M., Plaintiff S.L., and the California

                Subclass Members through the Website with third parties, including Google,

                without their knowledge or consent; and

            b. Disclosing the sensitive communications made by and to Plaintiff J.M., Plaintiff

                S.L., and the California Subclass Members through the Website to third parties,

                including Google, in exchange for marketing and advertising services.




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        219.    As a result of Defendant’s violations of the UCL, Plaintiff J.M., Plaintiff S.L., and

the California Subclass Members have suffered the diminution of the value of their Sensitive

Information, as alleged above.

        220.    As a result of Defendant’s violation of the UCL, Plaintiff J.M., Plaintiff S.L., and

the California Subclass Members are entitled to injunctive relief, as well as restitution necessary

to restore to them in interest any money or property, real or personal, acquired through Defendant’s

unfair competition practices.

                                         COUNT X
        VIOLATIONS OF THE MASSACHUSETTS RIGHT TO PRIVACY LAW,
                              Mass. Ann. Laws Ch. 214, § 1b
          (On Behalf of Plaintiff S.M., Plaintiff P.B., and the Massachusetts Class)
        221.    Plaintiffs repeat and reallege the allegations contained in paragraphs 215 through

221 as if fully set forth herein.

        222.    The Massachusetts Right to Privacy Law creates an actionable “right against

unreasonable, substantial or serious interference with a person's privacy.” Doe v. Tenet Healthcare

Corp., 731 F. Supp. 3d 142, 151 (D. Mass. 2024) (citations omitted). The statute’s “broad terms

allow for plaintiffs to pursue invasion-of-privacy theories, including public disclosure of private

facts and intrusion upon seclusion.” Id.

        223.    To prevail on a claim under the Massachusetts Right to Privacy Law, a plaintiff

must prove there was (1) a gather or dissemination of facts of a private nature that, (2) resulted in

an unreasonable, substantial or serious interference with her privacy.

        224.    Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members had a

reasonable expectation of privacy in their communications with Defendant via its Website and the

communications platforms and services therein.

        225.    Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members communicated

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Sensitive Information that they intended for only Defendant to receive and that they understood

Defendant would keep private and secure.

       226.       Defendant’s disclosure of the substance and nature of those communications to

third parties, including Google and Facebook, without the knowledge and informed consent of

Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members constitutes a violation of the

Massachusetts Right to Privacy Law.

       227.       Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members had a

reasonable expectation that their communications regarding sensitive, highly personal information

would be protected from surreptitious disclosure to third parties.

       228.       Defendant’s disclosure of Plaintiff S.M.’s, Plaintiff P.B.’s, and Massachusetts

Subclass Members’ Sensitive Information coupled with individually identifying information

constitutes an unreasonable, substantial or serious interference with their privacy.

       229.       As a result of Defendant’s actions, Plaintiff S.M., Plaintiff P.B., and Massachusetts

Subclass Members have suffered harm and injury including, but not limited to, an invasion of their

privacy rights.

       230.       Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members have been

damaged as a direct and proximate result of Defendant’s invasion of their privacy and are entitled

to compensatory and/or nominal damages.

       231.       Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members seek

appropriate relief for that injury including, but not limited to, damages that will reasonably

compensate Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members for the harm to

their privacy interests as a result of the intrusions upon their privacy.

       232.       Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members are also entitled



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to punitive damages resulting from the malicious, willful and intentional nature of Defendant’s

actions, directed at injuring Plaintiff S.M., Plaintiff P.B., and Massachusetts Subclass Members in

conscious disregard of their rights. Such damages are needed to deter Defendant from engaging in

such conduct in the future.

       233.    Plaintiff S.M. and Plaintiff P.B. also seek such other relief as the Court may deem

just and proper.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of other Class Members, pray for

judgment against Defendant as follows:

       A.      an Order certifying the Nationwide Class, and California, New York and
               Massachusetts Subclasses, and appointing the Plaintiffs and their Counsel
               to represent the Classes;
       B.      equitable relief enjoining Defendant from engaging in the wrongful
               conduct complained of herein pertaining to the misuse and/or disclosure
               of the Sensitive Information of Plaintiffs and Class Members;
       C.      injunctive relief requested by Plaintiffs, including, but not limited to,
               injunctive and other equitable relief as is necessary to protect the interests
               of Plaintiffs and Class Members;
       D.      an award of all damages available at equity or law, including, but not
               limited to, actual, consequential, punitive, statutory and nominal damages,
               as allowed by law in an amount to be determined;
       E.      an award of attorney fees, costs, and litigation expenses, as allowed by
               law;
       F.      prejudgment interest on all amounts awarded; and
       G.      all such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs, on behalf of themselves and other members of the proposed Classes, hereby

demand a jury trial on all issues so triable.




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Dated: June 27, 2025                       Respectfully submitted,

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